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Jeff Lowe (00:02):
Well, it wasn't bad. He's the nicest guy ever. And I really liked Bob, but they had some questions. This
wasn't really about Karl Mitchell. They were targeting me, which is fine, because I'm not hiding anything,
but-

Agent Matthew Bryant (00:24):
Who's they [inaudible 00:00:24]?

Jeff Lowe (00:24):
What?

Agent Matthew Bryant (00:27):
Who's they? USDA, or ... ?

Jeff Lowe (00:28):
USDA.

Agent Matthew Bryant (00:29):
Okay.

Jeff Lowe (00:29):
And he had a list of questions for Lauren. And he had a list of questions for me, because Lauren has
applied for license. Last September they took and cashed her check for her license application, and she
hadn't heard anything. So she's being held up, because they're investigating me. And, the questions that
they were asking her are like ... She's not a licensee, but they were asking things of her as though she's
obligated to follow the USDA guidelines and things.

Jeff Lowe (01:02):
So one of them was, how are you related to Jeff? And she says, "Well, I'm married." He says, "Well, I'm
going to need a copy of a marriage certificate." "Why? Are you serious? How many other USDA licensee
applicants are required to provide you a marriage certificate?" So I said, "Well," I said, "You know what?
Whatever. We'll give you a copy of that."

Jeff Lowe (01:23):
And then he says, "Now Lauren, did you display animals in the mall in Oklahoma City?" And she says,
"Well, Jeff did. And I was with him." And he says, "I'm going to need a copy of that lease for the mall."
[inaudible 00:01:38] "Why? We've had no violations. We had no USDA questions about the mall." So all
of these things that just seem over the top. And then what really got to me, and I never lost my temper,
I never lost my cool, but he got to the point. He says, "Did you go to Las Vegas? And, "Yes?" "Did you
have tigers?" "Yes. We had tigers out there." "Did you ever exhibit?" And I said, "We did a couple of
times." I said, "For money, we did." I said, "No, I didn't file an itinerary, because we were living there and
itinerary-

Agent Matthew Bryant (02:13):


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But you have an exhibitor's license anyway.

Jeff Lowe (02:14):
I do. And I said, "Technically, I know that a itinerary should have been filed once I became, not a private
owner, and I became an exhibitor," I said. But it's at 2:30 in the morning when I get this call. And I said,
"So, if I violated that, then fine me or write me a citation for exhibiting without an itinerary." I said, "I
accept that and I did it," I said. But he said, "So, how do you know Karl Mitchell?" I said, "Well, we met
him here at the park." And I said, "And then when we went out there, we wanted to see his facility." So I
said, "We took them to dinner one night to a hibachi." I said, "We had him come over one day and swim
in our pool."

Jeff Lowe (02:55):
And he says, "Well, the question to Lauren. Why did you ... ?" He says, "Have you ever had business with
Karl Mitchell?" And she says, "No." She goes, "We've never conducted business with him. Never did any
exhibiting. Never did anything with Karl Mitchell that was monetized." And he says, "Well then, why
were you using Karl Mitchell's webpage to facilitate your tiger playtime activities?" And we said, "What
are you talking about? We've never done any playtimes with Karl. We've never done playtime set up
through Karl." I just talked to Karl. Actually, he was on the phone when you called and I told him-

Agent Matthew Bryant (03:32):
Is that something that they're trying to make up? Or is there something out there on the website that
somebody else might've made up?

Jeff Lowe (03:39):
I don't know and that's why I asked Karl. I said, "Karl, did you ever put anything online, offering
playtimes with our babies? He says, "Never." He says, "I would never do that." And I said, "I didn't think
so." I said, "But they didn't ask." And I told Bob. I said, "Bob, that doesn't sound like it's a question. That
sounds like it's a matter of fact." And he says, "It does sound that way, doesn't it?" And then Bob says,
"I've never seen them ask for a marriage certificate either." He says, "This is really odd." And I said,
"Well," I said, "In the spirit of cooperation, I'm got nothing to hide." I said, "I'll give you what you asked
for."

Jeff Lowe (04:18):
But, he says, "I'm going to need your itinerary of all the times you went to Las Vegas." And I said, "Well,
you know that we saved those and we give a copy to the USDA on every inspection." And I said, "So you
guys already have it." And he goes, "Well, and can I have a copy of your inventory?" I said, "We just gave
our inspector a copy of an inventory last month." I said, "It's completely up to date." And he says,
"Disposition papers?" I said, "The same goes for that. They have it." I said, "So Bob, they have all these
things you're asking me for. I'll produce them again. If you need me to." I said, "But, marriage
information is available on the Clark County website. You can verify that we got married."

Jeff Lowe (04:58):
He wanted my Articles of Incorporation. I said, "You can go to Oklahoma State and you can get those." I
said, "Everything you guys are asking me for, seems like you're trying to get me to resist, or ... " I said,
"It's all available online." And he pulls out this thing. It was ... Letter of Denial was the sub chapter of the


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USDA guideline. And he had something highlighted about filing an itinerary. And I said, "So, does this
mean that Lauren's being denied a license?" He goes, "I don't think that's what it means." He says, "I
think they were just highlighting it to see if Lauren actually knew about the itinerary requirement." And I
said, "Well, for one thing, Lauren is a personal, private owner."

Jeff Lowe (05:38):
And I said, "If you guys deny her license, based on investigating me," I said, "then I'm going to get an
attorney." I said, "Because if I go out and I get a drunk-driving conviction and they take my license away,
it does not affect her ability to get a driver's license." And he says, "Oh, that's a really good point." He
says, "I've never thought of it that way." And I said, "Because her action ... " He says, "Well, I think
they're just trying to show that if she gets a license, it's going to be you anyway." And I said, "Well, that's
not fair." I said, "Bob," I said. "What if I was to die in a tiger cage today? And Lauren had to carry on this
zoo?" I said, "She legally could not do it, because she does not have a USDA license." And he says, "Well,
what's your experience?", to Lauren. I said, "She's been with me for five years, 24 hours a day and we've
had 200 cats."

Jeff Lowe (06:30):
And then he goes ... This one irritated me too. He says, "There's a rumor." And he was reading it. I saw
the question. It's not Bob. He was relaying it. He says, "There's a rumor that you have acquired some
cats from Joe Schreibvogel, after he left. I said, "Well, it's not a rumor." I said, "To begin with. It's a
matter of fact. I transferred all of his animals to mine in September. Joe left in June." I said, "In
September, when he was arrested and we knew he was not getting out, we transferred his animals to
me at the instruction of my USDA inspector." And I said, "And, guess what? I have that on video if you
want to see it." So he says, "Oh, absolutely. Give me a copy of that."

Jeff Lowe (07:15):
So I said, "So it's not a rumor." I said, "It's something you guys told me to do, which I obliged to and I did
it." And then he says, "Another rumor that we'd like to clear up is that Shaquille O'Neal is going to be
your business partner. And I said, "You know what? I'm going to refuse to answer that because it has
nothing to do with my USDA license." I said, "And that's inside business information that I'm not
comfortable providing you." I said, "If you want to contact Shaq's attorneys and ask for verification-

Agent Matthew Bryant (07:48):
That's like asking who all donate to your facility?

Jeff Lowe (07:50):
Right.

Agent Matthew Bryant (07:52):
Whoever donates, that's their business.

Jeff Lowe (07:55):
It just became very weird. And I felt like I was being asked questions that no one's ever been asked for
this ... So I said, "Look." He says, "Well, this took two hours." He says, "I got to write this statement up."
He says, "Would you guys sign a sworn statement?" And I said, "Yeah. I'm not hiding anything." So he


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says, "Well, I'll come back tonight." And I went and I talked to ... We have an attorney friend who ... She
represents us in the zoo. And she says, "Absolutely not. Do not sign any sworn statement." She says,
"Because you didn't have me there for one thing." She says, "You should have." And she says, "It's
obvious by the nature of their questions that they're they're fishing and that they are being adversarial
when they ask questions as though it's a matter of fact, as opposed to a fact finding." So she said, I-

Agent Matthew Bryant (08:45):
It sounds like this was all originating from Nevada?

Jeff Lowe (08:50):
Yeah. It is. Everything was about [crosstalk 00:08:52]

Agent Matthew Bryant (08:52):
It has nothing to do with your local folks that know you. Anything.

Jeff Lowe (08:55):
No. So I text him back. I said, "Look, at the advice of the attorney," I said, "I'm happy to provide you with
the documents you've asked for." I said, "Even though you probably already have them." I said, "I'll get
you copies." And I said, "But at the request of my attorney, or the advice, if you want to have another
meeting with us, with her present, and she's approved of my answers, I will sign a sworn statement."
And he says, "Well, will you sign just a sworn letter that you said those things?" And I said, "Well, what's
the difference?" I said, "Again, if you guys want to come at me with legal proceedings, that's what
discovery and depositions are about. You can get all your sworn statements during deposition."

Jeff Lowe (09:38):
I said, "But this doesn't seem like it would be advantageous to me to sign a sworn statement, just
handing over this ... " Because, right now, [Leanne 00:09:48] says they can't use this interview as
testimony in court, because they don't have a sworn statement. I said, "You know what? I've cooperated
with you fully. I've given you truthful answers. I even admitted to cub-petting thing," which is legal in
Vegas. I told him. But I said, [crosstalk 00:10:09]

Agent Matthew Bryant (10:09):
We all know what happened.

Jeff Lowe (10:10):
I said, "I'm not comfortable signing a sworn statement. If you guys want to pursue me in a courtroom,
we'll do depositions and then my statement will be under oath." And I told him. I said, "I won't lay down
for this." I said, "Lauren's entitled to a license. She's more qualified than most people holding licenses."

Agent Matthew Bryant (10:36):
Sure. I don't think you have anything ... And you're not recording me, are you?

Jeff Lowe (10:46):
No.


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Agent Matthew Bryant (10:47):
Yeah. I think, between us, I think it's a fishing trip. I think that somebody's got their panties in a wad for
you out there in Vegas. And they're just fishing. If you want my opinion ... You haven't asked, but if you
want, I'll share it with you.

Jeff Lowe (11:08):
I want it. I value your judgment.

Agent Matthew Bryant (11:12):
[crosstalk 00:11:12] ... to do this deal here is not to give them a sworn statement. I think you're right on
that. But to be hat in hand and non-threatening, and very cooperative without doing the affidavit to the
point to be like, "Hey Bob, I can set up an appointment. We can go up there and talk to my attorney. We
can do this and [inaudible 00:11:33]. And she thinks the affidavit is not going to put me in jeopardy, so
we can do that. I got no problem doing the affidavit. I want USDA to know that I'm going to cooperate
fully. And I've admit where I've been wrong on some minor instances. [inaudible 00:11:45] But a lot of
this stuff, that's being alleged to stuff that just caught me out of left field. So, naturally I want to be
defensive. But I want to be defensive with caution, to let USDA know that I want to be very cooperative
also."

Jeff Lowe (12:00):
Right?

Agent Matthew Bryant (12:01):
So-

Jeff Lowe (12:03):
I think when I see you I'm going to let you read my text message to him. I think you'll say you did a very
good job, because that's exactly ... I said, "Look, I want to cooperate. I want to help you figure out and
close this thing down. Because ... " I said, "If I need a citation for exhibiting cubs a few times then I
deserve it. Give it to me." And I said, "I could calculate that into the cost of doing business." But he says,
"Have you ever been arrested for any animal offenses?" And I said, "No." I said, "The day that they
seized my cats, they didn't arrest me." I said, "The only reason I got arrested is because some cute
redhead wrote down my court date wrong and I missed court." I said, "That's why I got arrested it. So
my arrest was over missing a court date."

Agent Matthew Bryant (12:49):
Yeah, all right. I know all about that [crosstalk 00:12:51].

Jeff Lowe (12:51):
So-

Agent Matthew Bryant (12:53):
But take my advice, if you will. Even when it's aggravating, be like, "Okay, I'm not going to roll over and
play dead, but I'm going to be very nice and very cooperative through the process."


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Jeff Lowe (13:07):
Yeah. And listen, as you know, Lauren was recording this, because we didn't know what it was about.
And we didn't tell him, because when you walk past that sign to the front and says, "Once you pass this
point, you're subject to be audio or video recorded." So she recorded the interview and he said some
things that he probably wishes he hadn't said now, in hindsight. But when he asked me for this point, I
said, "Look," I said, "I sent audio file of the interview to my attorney. She thought we treated each other
with respect. She thought my answers were precise, and answered the questions." And I said, "But she
just does not feel comfortable with me signing a sworn statement." And, he says, "Well," he says,
"Because you didn't tell me I was interviewed, can I get a copy of that?"

Jeff Lowe (13:54):
And I said, "Well," I said, "let me ask my attorney." I said, "Because I noticed you had a great big file
worth of stuff there that you didn't share with me. And I would have liked to have seen what's in your
file." "But," I said, "I doubt she's going to have a problem with it." I said, "But [inaudible 00:14:11]." He
said some things that he didn't agree with this whole thing. It didn't sound like coming out of Las Vegas.
He thought their questions were very inappropriate. And so, he probably wishes he hadn't said those
things. And he's talking trash about Donald Trump. So-

Agent Matthew Bryant (14:30):
So they better not record me then.

Jeff Lowe (14:34):
No. Or me. He's the worst president ever. But I told him. I said, "Look," I said ... Because everything he
said, rumors, rumors, rumors. I said, "Bob, the only reason we did this is to protect myself from being
accused of all these rumors. So, I-

Agent Matthew Bryant (14:50):
I think it's just a fishing trip. If that's all they got, is an itinerary thing. And if they pull something up on
Facebook about you offering to sell, you should be able to ... Or the playtime thing, whatever they're
talking about. That should be something that you and ... What's his [crosstalk 00:15:12] Mitchell out
there can easily prove as bogus.

Jeff Lowe (15:15):
Yeah, it didn't. If I had done it, I'd say, "Oh yeah, we advertised it." But I didn't. And he goes, "Well, who
operates your Facebook page?" And I said, "The zoo page or my personal?" And he says, "Hm
(affirmative). That's a good question." And I said, "Well, I'll tell you. My personal page has nothing to do
with the business." I said, "So, whatever I post on there is ... But, I obviously operate my personal page
and Lauren operates the zoo." And they acted as though there was something up there and there's
absolutely nothing. But you know where I think they're going with it, is that we used to post pictures of
me driving around with pictures of a tiger sitting in my lap while I'm driving down a highway. Because
the USDA asked me about that one time. He says, "Well, you know that they're supposed to be an
approved carriers."

Jeff Lowe (16:00):



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I said, "They're supposed to be an approved carriers when I'm operating under the auspices of my USDA,
whether I'm going to exhibit." I said, "But when I'm just driving around Oklahoma, going to Lowe's, it's
perfectly legal for me to drive with my animal walking around my car." I said, "If a state trooper or a
local sheriff wants to pull me over for dangerous driving, that's one thing. But it has nothing to do ... My
USDA license doesn't mean I had to forfeit my rights is a private citizen." I said, "So you guys don't
dictate what I do with my animals when they're not being used for the purpose of exhibition." And he
says, "You're true.I would agree with you 100%."

Jeff Lowe (16:41):
So, I think that's what the whole Facebook thing was about. Asking who ran the Facebooks and who
posted the pictures. But yeah, Karl says, "Jeff," he says, "We have never put your name." He says,
"We've never offered cub play times. And ... " I said, "I didn't think you did, because I'd have chewed his
ass for it if he would have. But ...

Agent Matthew Bryant (17:03):
Well, don't fret over it. And I think you did real good, because Bob will be your advocate, I believe that.
Look, he was cooperative. He told us everything we wanted to know. Bob's a good guy. Bob-

Jeff Lowe (17:15):
I really like him. He seems very nice.

Agent Matthew Bryant (17:18):
He's nice, plus he's got common sense.

Jeff Lowe (17:21):
Right. Yep.

Agent Matthew Bryant (17:24):
So we'll just see where this goes, USDA. Nothing's going to happen fast with him.

Jeff Lowe (17:29):
Yeah. We were talking to Scott down the Sharkarosa today. And he's the most ... Someday you got to
meet him. He is the most by the book, nicest guy, never break a rule. And he says the grief that he gets
from the USDA over things is just unbelievable. And he actually drove his car out to Fort Collins and met
with Dr. Sabala to say, "Look, you need to take five of us from places you like and five of us from places
you hate. And, once every year, we get together and we go over some of these issues that your
inspectors are creating problems where there are no problems." And so he's a super nice guy. But if
they're bothering Scott of all people, then I have to expect that they're going to-

Lauren Lowe (18:20):
There's no hope.

Jeff Lowe (18:22):
... that they're going to screw with us, because we're higher profile than he is.


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Agent Matthew Bryant (18:26):
I think so too. Coming out of Joe's crap and all the mess that he created.

Jeff Lowe (18:36):
Yep.

Agent Matthew Bryant (18:38):
Yep. You'll get down there to Thackerville and get your own place and get out from underneath that
umbrella, and it'll just get better.

Jeff Lowe (18:45):
Well, we're down there. We've been down there working. The grounds broke, we're fixing roads. We're
getting ready to lay the foundations for cages. And I hope to be open in June.

Agent Matthew Bryant (18:57):
Wow! Man, that's fast!

Jeff Lowe (18:59):
Well, we spent a shitload of money to get it done quick, but it's being done so professionally. The other
cages are just amazing. The construction and the shift doors and the lockout, the nighttime lockouts,
everything. It's going to look like a real zoo-

Agent Matthew Bryant (19:16):
Awesome.

Jeff Lowe (19:17):
But anything new on ... Trial date's still going as-

Agent Matthew Bryant (19:21):
Yeah. It's still going. The motion to sever ... And keep all this to yourself, obviously [crosstalk 00:19:29]

Jeff Lowe (19:29):
Yeah, what is sever? What does sever mean?

Agent Matthew Bryant (19:31):
The defense filed a motion to separate the case to a wildlife case, and a murder-for-hire case in two
different trials.

Jeff Lowe (19:40):
Oh.

Agent Matthew Bryant (19:42):
That was denied.


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Jeff Lowe (19:45):
Good.

Agent Matthew Bryant (19:45):
So it'll all be one trial.

Jeff Lowe (19:47):
Oh, good.

Agent Matthew Bryant (19:47):
And I don't know. I think what they were thinking is that we get some jurors' heartstrings bleeding on
shooting those cats and showing pictures of the tiger dig and all that. And they might be prejudicial
where we're weak on the murder for hire.

Jeff Lowe (20:04):
Right. Don't forget, I have a bunch of pictures and video from that day. I know you guys took some, but
if you need more, you can have mine.

Agent Matthew Bryant (20:12):
Yeah. I think we're good. I'm getting close to caught up on everything. I'm going to stop this week and
get that stuff from you on Corley. I'll get that. I'll look at that text when I see you this week.

Jeff Lowe (20:27):
All right.

Lauren Lowe (20:28):
Hey, Matt?

Jeff Lowe (20:29):
Yeah.

Lauren Lowe (20:30):
Have you seen Joe's recent posts about possible suicide?

Agent Matthew Bryant (20:36):
You're kidding me.

Jeff Lowe (20:37):
No.

Lauren Lowe (20:37):
No.



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Jeff Lowe (20:38):
Go look at his posts that if he beats this, he's going to go on and live a happy life with his animals and his
husband. And if he doesn't, he's going to watch from up above-

Lauren Lowe (20:48):
Up above, yeah.

Agent Matthew Bryant (20:50):
Really?

Lauren Lowe (20:50):
Yeah.

Agent Matthew Bryant (20:51):
Well. [crosstalk 00:20:54] That'll hurt his-

Jeff Lowe (20:54):
Yeah. I'm sorry?

Agent Matthew Bryant (20:55):
I was just going to say, that'll hurt his chances to get out.

Jeff Lowe (20:59):
Yeah. And he says all of the indictments ... "My team of lawyers and private investigators are working
hard to get indictments." I know he's talking about me. He says, "Indictments on all those who framed
me," Like, fuck you! "Team of lawyers and investigators." I'm sure the federal government is paying for
private investigators to come out and investigate us all.

Agent Matthew Bryant (21:22):
Well, maybe they've got to be better than me and Andy, because we couldn't find anything to indict
everybody else.

Lauren Lowe (21:29):
Hey, quick question, also. I know you're saying that this might end up being a two-week trial. That
doesn't mean we have to be out there the whole two weeks. Right?

Agent Matthew Bryant (21:39):
No. You're only up there ... Jeff will. You could be up there every day sitting in the audience if you
wanted to. But, whoever gets subpoenaed, that's the only day you have to be there.

Lauren Lowe (21:47):
Oh, okay. Good. Great, because that's-



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Jeff Lowe (21:47):
That's spring break-

Lauren Lowe (21:51):
That's spring break weekend.

Jeff Lowe (21:53):
Spring break starts that day.

Agent Matthew Bryant (21:55):
Yeah. So whatever your subpoena day is ... and since you're that close, it's not like you have to come up
and stay the night or something. You'll get a subpoena to testify. Say, Lauren, I know you will. It won't be
like Lauren we think it's Wednesday, but we've got two in front of you. We think we can get those
tomorrow morning. So it's likely you'll need to be up there Thursday afternoon to testify. You'll come up
Thursday morning and just see. And it could be that shit doesn't go right. Somebody goes for a long
period of time and everybody will be like, "Well, we couldn't get you in today." We know you start first
thing Friday morning.

Jeff Lowe (22:33):
Okay.

Agent Matthew Bryant (22:35):
That's how that all goes.

Jeff Lowe (22:37):
But she could be subject to recall. Right?

Agent Matthew Bryant (22:40):
No. Once she's done, she's done.

Lauren Lowe (22:42):
Oh! Wonderful.

Jeff Lowe (22:42):
So Joe's attorneys? Once they get up there, they couldn't call her back for cross?

Agent Matthew Bryant (22:48):
Yeah, they get one stab at her to cross. So she testifies, they get to cross, we get to come back and clear
it up, and then she's done. Once she's released, you don't get another crack at her.

Jeff Lowe (23:01):
But do you know what somebody told us? I think it was Leanne, our attorney friend. When we gave her
the logic, why they weren't going to subpoena me, because they could go down that rabbit hole, she


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said that even if the defense calls me, instead of the prosecution, she says they can declare me a hostile
witness and ask me anything.

Agent Matthew Bryant (23:28):
They can try, but they'll have to prove that.

Jeff Lowe (23:30):
Okay.

Agent Matthew Bryant (23:32):
You just can't get up there and say, "We're going to call him a hostile witness." They're going to want to
know why.

Jeff Lowe (23:37):
Okay.

Agent Matthew Bryant (23:38):
And the defense will have to prove why they think you're a hostile witness. And then wherever it goes ...
And Jeff, you're in the situation more so than Lauren and probably Glover to a degree, and probably
Garrettson to a degree. If the prosecution brings you on, defense is going to try to tear you apart.

Jeff Lowe (24:04):
Right.

Agent Matthew Bryant (24:05):
If defense brings you on, even as a hostile witness, they're going to try to break you apart. But the good
thing about that is Amanda gets the second word to heal anything.

Jeff Lowe (24:16):
Okay.

Agent Matthew Bryant (24:21):
You know what I mean?

Jeff Lowe (24:22):
Right, exactly. Yeah. She gets to fix whatever she thinks is prejudicial or ...

Agent Matthew Bryant (24:27):
Right. So that's what it'll be. And they'll try. I don't know for sure, but I think there'll be like ... On Lauren,
they'll try to be like, "You did everything your husband told you to do. And your husband was in cahoots
and trying to do this and sabotage Joe and set him up," And Lauren will be like, "I don't know what
you're talking about."

Jeff Lowe (24:46):

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They don't know her very well.

Agent Matthew Bryant (24:49):
Yeah. She says, "I'm my own woman. I do what I want to. [Crosstalk 00:24:54]. Yeah. All, good. Well, I
think you have an advocate for you with Bob. Just always remember, even when it's frustrating and it
angers you, be hat in hand. Because once you get the reputation of being hostile with USDA, [crosstalk
00:25:14] they will not do anything to help you out.

Jeff Lowe (25:18):
Right. And that's what Bonnie always said, because she says, you can record these inspections. She says,
but if you do, she says, we don't have the leeway to cut you as much slack. She says that, "If we see a
violation and we don't call you on it or write you up," she says, "then we're not doing our job." So we
actually record the part when she's going through the paperwork, but we don't record the walk around,
just out of the request. But ...

Agent Matthew Bryant (25:53):
Yeah, well sounds good. You all be good and I'll holler out some time this week, and, like I said, it'll take
a while. We'll see where this goes. I don't know. I've been doing this 30-something years. I just don't see
... It sounds to me like they're looking for something that they don't have yet.

Jeff Lowe (26:10):
Well, it's always hard to get 12 people to agree on any damn thing. But I think-

Agent Matthew Bryant (26:20):
I was talking about you and USDA.

Jeff Lowe (26:24):
Oh yeah. Well, I'm talking about with you and Joe. From a layman's viewpoint, I would not want to be
him for any amount of money. You know what? I think you got him dead to rights. So ...

Agent Matthew Bryant (26:42):
I think we have a strong case. We got some holes in some stuff and we'll have to see how much they try
to exploit it, but-

Jeff Lowe (26:47):
What do you think your holes are, though? You got him-

Agent Matthew Bryant (26:52):
Glover.

Jeff Lowe (26:55):
Yeah, he is a fucktard.

Agent Matthew Bryant (26:58):


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The whole money exchanging hands. The only witness is Glover.

Jeff Lowe (27:01):
Huh.

Lauren Lowe (27:01):
Mm (affirmative).

Jeff Lowe (27:06):
But Glover, you can check his bank account from back then, and you could see that he was broke. So
how did he get the money to go to Florida and live it up for a month?

Agent Matthew Bryant (27:18):
Well, yeah. No, but we'll try on that.

Jeff Lowe (27:20):
And if you could get Joe's goddam phone and dump it, you'd see probably him and Glover talking. I don't
know. Maybe he didn't, he might be smarter than that.

Agent Matthew Bryant (27:28):
I tell you what I'd like to have his phone for.

Jeff Lowe (27:28):
Cub sales.

Agent Matthew Bryant (27:29):
I'd like to have his phone to see who in the hell it was that showed up that day, that got that liger.

Jeff Lowe (27:38):
Yeah. Yep. I've thought about that many a time.

Lauren Lowe (27:40):
Which liger?

Jeff Lowe (27:42):
On Thanksgiving.

Agent Matthew Bryant (27:43):
The one [crosstalk 00:27:46].

Lauren Lowe (27:43):
Oh.



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Jeff Lowe (27:46):
Engesser. Yeah.

Agent Matthew Bryant (27:46):
And I don't believe it was Engesser.

Jeff Lowe (27:46):
Huh. Well-

Agent Matthew Bryant (27:54):
Engesser spilled his guts and told me about cub sales and money and wire transfers that I knew nothing
about. And he said that day was not me.

Jeff Lowe (28:02):
Huh. Aren't there a lot more cub sales that you can prove? I can help you prove more.

Agent Matthew Bryant (28:07):
Yeah, we can. But that's what we indicted. That's what we can prove at the time.

Jeff Lowe (28:11):
Okay.

Agent Matthew Bryant (28:12):
We'll use all the others as-

Jeff Lowe (28:17):
So they will be brought up?

Agent Matthew Bryant (28:19):
They would be brought up. And sentencing is similar conduct. These aren't the only times he's done it.
This was what we've charged him with. Look at all this other similar conduct. So if they have a range to
go from, ... I'll just pick a number, one year to five years and you show all the other similar conduct,
they're going to lean more towards the five years.

Jeff Lowe (28:39):
Right. Sentencing enhancements, is that what they call it?

Agent Matthew Bryant (28:42):
Something like that.

Jeff Lowe (28:43):
Yeah. All right, buddy.



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Agent Matthew Bryant (28:47):
All right. Well, y'all be good.

Jeff Lowe (28:47):
All right. Thanks for calling. We'll talk to you later. Good night.




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